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                           IN THE UNITED STATES DISTRICT COURT
                              F'OR THE DISTRICT OF PUERTO RICO
  UNITED STATES OF AMERICA.                                                           -Qrn
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                                                                                   -: --l          -.':.::
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  Plaintifl                                                                                             '.




                                                                                   8*,,.,
                                                                                   - F.""";
  Y.                                                       cRrM. No. o4-3sl(sEcF: i*.
                                                                                             a1 .t,
                                                                                             \J 1--

  lu JUAN TSTDRO TOLOZA-PEfrIA, et, al                                                  u
                                                                                     "gfr     --


  Defendants.

                           PRELIMINARY ORDER OF FORFEITURE

        WHEREAS, on September2T'h,2004,afederal GrandJury sitting inthe District ofpuerto Rico

retumed an Indictment against the defendant [1] Juan Isidro Toloza-peffa .

        WHEREAS, charging, among others, the above captioned defendant with violations of l8

U.S.C. $$ 1956(h)and and 2l U.S.C.$ 846 The Indictment also contained a Forfeiture Allegation

indicating that pursuant to 18 U.S.C.$982 and 2I U.S.C. $$ S53 and 881 the defendants should

forfeit to the United States all property interests derived from any proceeds directly or indirectly

fromaviolationof l8U.S.C. $$ 1956(h) and2l U.S.C.$ 846aswellasallpropertyusedorintended

to be used in any manner orpart to commit or facilitate the commission of a violation of l8 U.S.C.


$$ 19s6(h)and 2l U.S.C. $$ 841 or 846.

        WHEREAS, On February 9,2007, defendant [] Juan Isidro Toloza-Pefla, entered a plea,

and Forfeiture Agreement to the Counts One of the Indictment, as well as the Forfeiture Allegation.

defendant [1] Juan Isidro Toloza-Pefia specifically agreed to the forfeit to the United States and to

relinquish all rights, title and interests in the following property:

                                   $78,702.00 rN U.S. Cunnrncy
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         WHEREAS, Basedupon the evidence set forth in defendant [l] Juan Isidro Toloza-pefla,s

 Plea and Forfeiture Agreement, and the Expedited and Settlement Agreement filed on November

 9, 2007, where the parties agreed that out of $29,990.50 in U.S. Currency that was seized from

 SmithBarney accountnumber3950l810-10016, in thename ofBluefin Investment S.A. the United

 States will retain and ultimately forfeit $1,499.50, representing 5% plus any interest accrued while

the property was deposited in the United States' Department of Justice Asset Forfeiture Fund.

Moreover, the United States has established the requisite nexus between the properly and the offense

to which the defendant has pleaded guilty, the following property:

                                  $50,211.46 IN U.S. CURRENCY

is subject to forfeiture to the United States pursuant to 18 U.S.C.$982 and 21 U.S.C. gg g53 and

881.

        WHEREAS, Upon the issuance of a Preliminary Order of Forfeiture and pursu ant to 2l

U.S.C.$ 853, the United States will publish in a newspaper of general circulation, notice of this

Order, notice of the United States Immigration and Customs Enforcement (ICE), Department of

Homeland Security.

intent to dispose of the properfy in such manner as the Attorney General may direct and notice

that any person, other than the defendant, having or claiming a legal interest in the properry must

file a petition with the Court and serve a copy on Miguel A. Fern6ndez, Assistant United States

Attomey within thirty (30) days of the final publication of notice or of receipt of actual notice,

whichever is earlier. This notice shall state that the petition shall before a hearing to adjudicate

the validity of the petitioner's alleged interest in the property, shall be signed by the petitioner

under penalty of perjury and shall set forth the nature and extent of the petitioner's right, title or

interest in the forfeited property and any additional facts supporting the petitioner's claim and the
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 relief sought. The United States may also, to the extent practicable, provide direct
                                                                                           written notice
 to any person known to have alleged an interest in the property that is the subject
                                                                                         of the
 Preliminary Order of Forfeiture, as a substitute for published notice as to those persons
                                                                                                  so

 notified.

         WHEREAS, the Court's jurisdiction in this matter is founded upon Title 18, United States

 Code, Sections 982(a)(l) and 981(a)(l)(c) , which provides that: the Court, in imposing
                                                                                            sentence on

 a person convicted of a conspiracy to violate Title 21, United States Code, Sections 841
                                                                                            and g46, and

 Title 18, United States Code, Section 1956(h), shall order that the person forfeit to the United States

any property constituting, or derived from proceeds the person obtained directly or indirectly,
                                                                                                   as the

result of such violation.

        WHEREAS, in accordance with the provisions of 2l U.S.C. g 853 and Rule 32.2(bX3) of

the Federal Rules of Criminal Procedure, the United States requests that it be permitted to

undertake whatever discovery is necessary to identifii, locate, or dispose of property subject to

forfeiture, or substitute assets for such properfy.


        IT IS HEREBY ORDERED, ADruDGED, AND DECREED:


        l.      That based upon the guilty verdict ofthe defendant and the unopposed version of

the facts, any and all of the defendant's interest in the above listed property is hereby forfeited to

the United States and the United States is hereby authorized to seize the same for disposition in

accordance with the law, subject to the provisions of Title 2l United States Code, Section g53.

        2.      That the aforementioned forfeited properties are to be held by the United States

Immigration and Customs Enforcement (ICE), Department of Homeland Security in their secure

custody and control.

        3.      That pursuant to Title 2l United States Code, Section 853, the United States

forthwith shall publish once in "El Nuevo Dia," anewspapor of general circulation in the island

of Puerto Rico, notice of this Order, notice of the United States Immigration and Customs
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Enforcement (ICE), Department of Homeland Security intent to dispose of the property in such

manner as the Afforney General may direct and notice that any person, other than the defendant,

having or claiming a legal interest in the above-listed forfeited property must file a petition

within the court with thirty (30) days of the publication of notice or of receipt of actual notice,

whichever is earlier. This notice shall state that the petition shall be for a hearing to adjudicate

the validity of the petitioner's alleged interest in the properfy, shall be signed by the petitioner

under penalty of pe{ury, and shall set for the nature and extent of the petitioner's right, title or

interest in each of the forfeited property and any additional facts supporting the petitioner,s

claim and the relief sought. The United States may also, to the extent practicable, provide direct

written notice to any person known to have alleged an interest in the property that is the subject

of the Order of Forfeiture, as a substitute for published notice as to those persons so notified.

       4.      That upon adjudication of all third-party interests, this court will enter a final

Order of Forfeiture pursuant to Title 21 United States Code, Sections 853 and 881, in which all

interests will be addressed.

       SO ORDERE D on this      ifl fi of Vtay, 2008.
                                                         LVADOR E.
                                                         STATES DISTRICT ruDGE
